      Case 1:04-cr-05237-LJO Document 78 Filed 07/13/06 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )         1:04-5237 OWW
                     Plaintiff,    )         (Central District of
     vs.                           )          California Case No.
                                   )          04-2022M)
CELIA GARCIA RINCON,               )
                                   )         ORDER EXONERATING BOND
                     Defendants.   )         AND FOR RETURN OF NOTE
___________________________________)         AND DEED OF TRUST AND
                                             PASSPORT

     The above-named defendant having surrendered to the custody

of the Bureau of Prisons as directed;

     IT IS HEREBY ORDERED that the bond in this matter is

exonerated and that the Clerk of this court notify the Clerk of

the Court for the Central District of California that the Note

and Deed of Trust posted in this matter may be returned to the

surety and the Passport of the defendant may be returned to the

defendant or her authorized representative.



Dated: _July 7, 2006___                _/s/ OLIVER W. WANGER_________
                                       OLIVER W. WANGER
                                       United States District Judge
